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                   EXHIBIT 10
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 From: David Yerushalmi
 Sent: Friday, September 8, 2023 9:44 AM
 To: 'Eckstein, Maya'; 'King, Jeremy'; 'Elliker, Kevin'
 Cc: 'Cindy Page'
 Subject: RE: Doe v Mast/Documents Produced by USCCB in Response to Subpoena`

 Maya (et al.)

 While I note that Plaintiffs have a 15-day window to designate the USCCB documents as
 CONFIDENTIAL per the Protective Order (Dkt. No. 224), under the P.O. we are obligated to provide the
 documents to the other Parties upon request. I am refraining from doing so because I have, as you know,
 opted to proceed conservatively and to assume two of the documents received have been listed (albeit
 vaguely and only by indirect implication) as "Attorney Work Product" on your June 8 privilege log.
 Because I take my professional ethical responsibilities seriously, per Virginia law and professional ethics
 I have sequestered those documents for MY EYES ONLY. You have those documents now. You
 similarly have an ethical obligation to inform me immediately whether the USCCB documents include
 privileged attorney-client communications or work product. If they do not fall within that rubric, then I
 would, pursuant to the P.O., release them from sequestration and provide them to the other Parties who
 have, or will, make a request to review them.

 If your clients are taking the position that any of the USCCB documents are the documents you have
 labeled on your June 8 privilege log as Attorney Work Product, please so inform me by Monday,
 September 11, by 12 noon EDT. If you do in fact claim such a privilege, please consider this a meet-and-
 confer demand under the P.O.

 David Yerushalmi*
 American Freedom Law Center®
